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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA


     United Marine Marketing Group, LLC,        )    Case No.: 8:10-cv-02653-MSS-TBM
            Plaintiff,                          )
                                                )    Judge Mary S. Scriven
               v.                               )    Magistrate Judge Thomas B. McCoun, III
                                                )
     Jet Dock Systems, Inc., et al.             )    JOINT MOTION FOR VOLUNTARY
              Defendants.                       )    DISMISSAL
                                                )
                                                )
                                                )


            The plaintiff, United Marine Marketing Group LLC and the defendants , Jet

     Dock Systems, Inc., Ocean Innovations, Inc., David Faber, and W. Allan Eva III, have

     reached an agreement to settle this matter, and they jointly request that the Court enter

     a voluntary dismissal with prejudice in the form attached.




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     Respectfully submitted,

     /s/ F. Thos. Vickers                            /s/ Vytas Rimas
     F. Thomas Vickers (0021900)                     Vytas Rimas (MN 182539; CA 124936)
     Vickers Law Group                               18281 Minnetonka Boulevard, Suite E
     Westlake, OH 44145                              Minneapolis, MN 55391
     tvickers@vickerslawgroup.com                    952-476-4000 Office
     216-401-3202                                    612-720-2786 Cell
                                                     800-208-6315 Fax

     Richard S. Brightman                            Spartan Law Group
     Florida Bar No.: 0347231                        Jeffrey E. Baughman
     Hopping Green & Sams, P.A.                      Florida Bar No. 055378
     119 South Monroe St., Suite 300                 13575 58th St. N., Suite 151
     Tallahassee, FL 32301                           Clearwater, FL 33760
     (T) 850-222-7500                                (T) 727-772-7826
     (F) 850-224-8551                                (F) 7272310705
     Richardb@HGSlaw.com                             Jeff@Spartanlawgroup.com

     James B. Thompson, Junior
     Goodis, Thompson & Miller P.A.                  Attorneys for Defendants
     PO Box 90
     St. Petersburg, FL 33731
     (T) 727-823-0540
     (F) 727-823-0230

     Attorneys for Plaintiffs



             I hereby certify that on the 22nd day of April, 2014, a true and correct copy of
     the foregoing
                        JOINT MOTION FOR VOLUNTARY DISMISSAL
     has been furnished by using the CM/ECF system. Notice of this filing will be sent to
     all counsel of record registered to receive electronic service by operation of the court’s
     electronic filing system.


                                           /s/ F. Thomas Vickers
                                                   Attorney




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